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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
                                                              §
In re:                                                        §        Chapter 11
                                                              §
Benevis Corp., et al.,1                                       §        Case No. 20-33918 (MI)
                                                              §
                 Debtors.                                     §        (Jointly Administered)
                                                              §


     STIPULATION EXTENDING TIME TO OBJECT TO RR NORTHCHASE LLC’S
     APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM
                  PURSUANT TO 11 U.S.C. §§ 365(d) AND 503(b)
                         [Relates to Docket No. 523]

         RR Northchase, LLC (“RR Northchase”) and Steven D. Sass LLC, Liquidation Trustee

(the “Trustee” and with RR Northchase, the “Parties”) of the Benevis Liquidation Trust (the

“Liquidation Trust”) hereby stipulate and agree as follows:

         WHEREAS, on August 3, 2020, each of the Debtors filed voluntary Chapter 11 petitions

with the Bankruptcy Court; and

         WHEREAS, on October 2, 2020, this Court approved the sale of substantially all of the

Debtors’ assets pursuant to section 363 of the Bankruptcy Code (the “Sale”) to New Benevis

Holdco, Inc., a Delaware corporation (the “Purchaser”); and

         WHEREAS, on December 18, 2020, RR Northchase filed its Application for Allowance of

Administrative Expense Claim Pursuant to 11 U.S.C. §§ 365(d)(3) and 503(b) [Docket No. 523]

(the “Application”); and




 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Benevis Corp. (0242); LT Smile Corporation (2818); Benevis Holding Corp. (0222);
 Benevis Affiliates, LLC (7420); Benevis, LLC (5524); Benevis Informatics, LLC (7833). The address of the
 Debtors’ headquarters is 1090 Northchase Parkway S.E., Suite 150, Marietta, GA 30067.
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          WHEREAS, on December 30, 2020, this Court entered the Order Approving Combined

Disclosure Statement and Joint Plan of Liquidation of Benevis Corp. and its Affiliated Debtors

Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 575] (the “Confirmation Order”),

confirming, as modified therein, the Combined Disclosure Statement and Joint Plan of Liquidation

of Benevis Corp. and its Affiliated Debtors Pursuant to Chapter 11 of the Bankruptcy Code

[Docket No. 570] (the “Plan”); and

          WHEREAS, the Effective Date2 of the Plan occurred on December 31, 2020. [Docket No.

596]; and

          WHEREAS, pursuant to the Plan, on or about the Effective Date, the Liquidation Trust

was created and was vested with all of the Debtors’ right, title, and interest in the Liquidation Trust

Assets, including without limitation, all of the Debtors’ Assets, the right to prosecute, settle,

withdraw, or resolve in any manner any claims and rights that the Debtors may hold against any

Entity to be liquidated and distributed to the Liquidation Trust Beneficiaries, as set forth in the

Plan; and

          WHEREAS, under Article VIII of the Plan, the Trustee was granted any and all rights and

defenses that the Debtors had with respect to any Claim immediately before the Effective Date,

and further granted all any and all rights to litigate, withdraw, settle, or compromise any Claims

against the Debtors; and

          WHEREAS, the Trustee is in the process of investigating the Application; and

          WHEREAS, pursuant to Local Rule 9013-1, the deadline to respond to the Application is

January 8, 2021; and




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    Capitalized terms not otherwise defined herein shall have the meanings ascribed thereto in the Plan.
                                                           2

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        WHEREAS, the Parties agree that extending the deadline for the Trustee’s filing an

objection to the Application until January 25, 2021 will allow the Parties an opportunity to

investigate the claims alleged in the Application, potentially reach a consensual resolution, and

avoid unnecessary expense.

        Accordingly, the Parties hereby Stipulate and Agree that:

        1.      The Parties agree that the deadline for the Trustee to file an objection to the

Application is hereby extended to January 25, 2021.

        2.      The undersigned hereby represent and warrant that they have full authority to

execute this Stipulation on behalf of the respective Parties and that the respective Parties have full

knowledge of, and have consented to, this Stipulation.

        3.      This Stipulation shall be binding on the Parties’ successors, agents, and assigns

(including bankruptcy trustees and estate representatives), and any parent, subsidiary, or affiliated

entity of the Parties.

        4.      Notwithstanding the possible applicability of Bankruptcy Rules 9014 or otherwise,

the terms and conditions of this Stipulation shall be immediately effective and enforceable upon

its entry.

        5.      This Stipulation comprises the entire agreement between the Parties.

        6.      This Stipulation may be executed in counterparts, each of which will be deemed an

original, but all of which together will constitute one and the same agreement.

        7.      This Stipulation shall not be modified, altered, amended or vacated without written

consent of the Parties hereto. Any such modification, alteration, amendment or vacation, in whole

or in part, shall be subject to the approval of the Court.




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        8.     For purposes of construing this Stipulation, none of the Parties shall be deemed to

have been the drafter of the Stipulation.

        9.     The Parties agree that the Court retains jurisdiction with respect to all matters

arising from or related to the implementation of this Stipulation, and the Parties hereby consent to

such jurisdiction to resolve any disputes or controversies arising from or related to this Stipulation.

DATED: January __, 2021
                                       _______________________________________
                                       Marvin Isgur
                                       United States Bankruptcy Judge


STIPULATED AND AGREED TO BY:

CHAMBERLAIN, HRDLICKA, WHITE                           STEVEN D. SASS LLC, LIQUIDATION
WILLIAMS & AUGHTRY, P.C.                               TRUSTEE FOR THE BENEVIS
                                                       LIQUIDATION TRUST
/s/ Jarrod B. Martin*
Jarrod B. Martin                                       /s/ Simon R. Mayer
Texas Bar No. 24070221                                 Philip G. Eisenberg
Tyler W. Greenwood                                     Texas Bar Number 24033923
Florida Bar No. 1011325                                Simon R. Mayer
S.D. Tex. No. 3575083                                  Texas Bar Number 24060243
1200 Smith Street, Suite 1400                          LOCKE LORD LLP
Houston, Texas 77002                                   600 Travis Street, Suite 2800
D: 713.356.1280                                        Houston, TX 77002
F: 713.658.2553                                        Telephone: 713-226-1200
E: jarrod.martin@chamberlainlaw.com                    Facsimile: 713-226-3717
   tyler.greenwood@chamberlainlaw.com                  peisenberg@lockelord.com
                                                       simon.mayer@lockelord.com
Counsel for RR Northchase LLC
                                                       -and-
* Signed with permission.
/s/ Simon R. Mayer                                     W. Steven Bryant
                                                       Texas Bar. No. 24027413
                                                       Federal I.D. No. 32913
                                                       LOCKE LORD LLP
                                                       600 Congress Avenue, Ste. 2200
                                                       Austin, Texas 78701
                                                       Telephone: (512) 305-4726
                                                       Fax: (512) 305-4800
                                                       sbryant@lockelord.com

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                                           -and-

                                           Aaron C. Smith (admitted pro hac vice)
                                           LOCKE LORD LLP
                                           111 South Wacker Drive
                                           Chicago, IL 60606
                                           Telephone: (312) 443-0460
                                           Facsimile: (312) 896-6460
                                           asmith@lockelord.com

                                           Counsel for Steven D. Sass LLC,
                                           Liquidation Trustee for the Benevis
                                           Liquidation Trust




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